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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                         Case No. 18-cv-20886-CIV-WILLIAMS/TORRES

  DIVA GRACIELA GALLARDO,

         Plaintiff,

  v.

  ENRIQUE UBARRI,
  LILLIANA TORRES,

        Defendants.
  ________________________________/

                       DEFENDANTS’ NOTICE OF DISCOVERY HEARING

         Defendants, ENRIQUE UBARRI and LILLIANA TORRES, by and through undersigned

  counsel, and pursuant to the Order Setting Discovery Procedures of the United States Magistrate

  Judge Edwin G. Torres, hereby file their Notice of Discovery Hearing scheduled on Friday, August

  24, 2018, at 11 a.m., before the Honorable Edwin G. Torres, at the Lawrence King Federal Justice

  Building, 99 N.E. 4th Street, Tenth Floor, Courtroom 5, Miami, FL 33132, and respectfully state

  as follows:

                           Substance of Discovery Matter to be Heard

       1. Plaintiff failed to provide documents responsive to Defendants’ First Request for

  Production Nos. 21 and 25, as required pursuant to this Court’s ruling at a discovery hearing held

  on June 28, 2018. The deadline to provide the responsive documents was July 12, 2018.

       2. Namely, Plaintiff has failed to provide a copy of her 2017 Income Tax Return and a

  download of her Facebook accounts. Further, Plaintiff has failed to provide a complete tax return

  for the year 2015.
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                                      Certificate of Good Faith

         On Tuesday, August 7, 2018, counsel for Defendants contacted counsel for Plaintiff via e-

  mail outlining Plaintiff’s failure to comply with the Court’s ruling as referenced above. Counsel

  for Plaintiff responded; however, the parties are unable to reach an agreement. Further, counsel

  for Plaintiff refused to provide her availability to schedule a hearing on these discovery issues in

  response to a written request with proposed dates and times that this Honorable Court was available

  to schedule a discovery hearing.

  Dated: August 7, 2018

                                                       Respectfully submitted,


                                                               s/Ena T. Diaz
                                                       Ena T. Diaz
                                                       Fla. Bar No. 0090999
                                                       ENA T. DIAZ, P.A.
                                                       Attorney for Defendants
                                                       999 Ponce De Leon Blvd. – Ste 720
                                                       Coral Gables, FL 33134
                                                       Tel.: (305) 377-8828
                                                       Fax: (305) 356-1311
                                                       ediaz@enadiazlaw.com


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the Notice of Discovery Hearing (Case No. 18-cv-20886) was

  served via e-mail on counsel for Plaintiff, J.H. Zidell, Esq. (zabogado@aol.com), Rivkah F. Jaff,

  Esq. (rivkah.jaff@gmail.com), and Neil Tobak, Esq. (ntobak.zidellpa@gmail.com), J.H. Zidell,

  P.A., 300-71st Street, Suite 605, Miami Beach, FL 33141, on this 7th day of August 2018.


                                                             s/Ena T. Diaz
                                                       Ena T. Diaz




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